                  Case 2:10-md-02179-CJB-DPC Document 4457-24 Filed 11/01/11 Page 1 of 4
IN RE:   OIL SPILL by the OIL RIG, DEEPWATER HORIZON in the GULF OF MEXICO, April 20, 2010                              Reported by:

JONATHAN SPRAGUE VOL. II March 22, 2011                                                           THU BUI, CCR, RPR

                                                                                                               Page 369
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


             IN RE: OIL SPILL                            )         MDL NO. 2179
             by the OIL RIG,                             )
             DEEPWATER HORIZON in                        )         SECTION "J"
             the GULF OF MEXICO,                         )
             April 20, 2010                              )         JUDGE BARBIER
                                                         )
                                                         )         MAG. JUDGE
                                                         )         SHUSHAN




                                         **************
                                             VOLUME 2
                                          **************



                        Deposition of JONATHAN SPRAGUE,
             taken at Pan-American Building, 601 Poydras
             Street, 11th Floor, New Orleans, Louisiana,
             70130, on the 22nd of March, 2011.



             APPEARANCES:


             Mr. Duke Williams
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             909 Poydras Street, Suite 1650
             New Orleans, Louisiana 70112




601 Poydras Street, Suite 1720 GAUDET KAISER, L.L.C.                                           Telephone: (504) 525-9100
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JONATHAN SPRAGUE VOL. II March 22, 2011                                                                                THU BUI, CCR, RPR
                                                                         Page 510                                                           Page 512
                                                                                              1   environment?
                                                                                              2       A. No.
                                                                                              3       Q. Anyone ever tell you that they
                                                                                              4   felt that the Deepwater Horizon crew was
                                                                                              5   indifferent regarding injury to another
                                                                                              6   person?
                                                                                              7       A. No.
                                                                                              8       Q. Anyone ever approach you to
                                                                                              9   report that they felt any member of the
 10                                                                                          10   Deepwater Horizon crew was malicious in
                                                                                             11   terms of trying to cause harm to the
                                                                                             12   environment?
                                                                                             13       A. No.
                                                                                             14       Q. Anyone ever approach you to
                                                                                             15   report that they felt any member of the
                                                                                             16   Deepwater Horizon crew was malicious in
                                                                                             17   terms of trying to cause injury to another
                                                                                             18   person?
                                                                                             19       A. No.
                                                                                             20       Q. During the time that you were
                                                                                             21   preparing to take over the job and then
                                                                                             22   after that leading up to April the 20th,
                                                                                             23   2010, were you ever informed by any member
                                                                                             24   of the wells team about any concerns about
                                                                                             25   maintenance that made them want to shutdown
                                                                         Page 511                                                           Page 513
                                                                                              1   operations on the Deepwater Horizon?
                                                                                              2       A. Not that I can recall.
                                                                                              3       Q. Okay. That's something you
                                                                                              4   would recall if somebody came to you with a
                                                                                              5   maintenance issue and said, Mr. Sprague, we
                                                                                              6   want to shut things down; isn't that right?
                                                                                              7       A. Typically, they wouldn't come to
  8          Q. Did anyone -- either as you were                                              8   me, but, yes, I would probably remember it
  9      getting up to speed for your new role or                                             9   if -- if somebody did.
 10      once you took your new role in April                                                10       Q. And as you sit here today, you
 11      of 2010, did anyone ever approach you to                                            11   have no memory of anything like that
 12      report that they felt any member of the                                             12   occurring. That's true?
 13      Deepwater Horizon crew deliberately wanted                                          13       A. That's correct.
 14      to cause injury to the environment?                                                 14       Q. Were you ever informed or -- did
 15          A. The Horizon crew?                                                            15   you ever hear about anyone from BP saying
 16          Q. Yes, sir.                                                                    16   that maintenance issues onboard the
 17          A. No. No, sir.                                                                 17   Deepwater Horizon resulted in the rig
 18          Q. Anyone ever approach you to                                                  18   operating in an unsafe manner during the
 19      report that they felt that any member of                                            19   time that you were the engineering manager
 20      the Deepwater Horizon crew deliberately                                             20   over the Gulf of Mexico?
 21      wanted to cause injury to another person?                                           21       A. No. I can't remember anyone
 22          A. No, they did not.                                                            22   saying that.
 23          Q. Anyone ever tell you that they                                               23       Q. Okay. As you were preparing to
 24      felt the Deepwater Horizon crew was                                                 24   take over your job and once you assumed
 25      indifferent regarding injury to the                                                 25   your new role in April of 2010, did you
                                                                                                                   37 (Pages 510 to 513)
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                                                                         Page 514                                      Page 516
  1      ever hear anyone with BP say that they
  2      believed that the Deepwater Horizon rig
  3      crew was incompetent?
  4         A. I don't recall anybody telling
  5      me that.
  6



 10                                                                                          1




                                                                         Page 515                                      Page 517
  1                                                                                          1




                                                                                                 38 (Pages 514 to 517)
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                     WITNESS CERTIFICATE                  'AAY 2 '1 2011



            I, JONATHAN SPRAGUE, have read or have had

            the foregoing testimony read to me and hereby

            certify that it is a true and correct transcription

            of    my testimony,   with the    exception     of any

           attached corrections or changes.




      (Date Signed)



     __y~_ Signed with corrections as attached.
                 Signed with no corrections noted.
